             Case 1:13-cv-03591-NJV Document 44 Filed 09/03/14 Page 1 of 2




1
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5
     Attorney for Plaintiff
6
                      UNITED STATES DISTRICT COURT
7
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
8

9
     TRUZELLA LITTLETON,                  ) Case No. 4:13-cv-03591-NJV
10
                                          )
11   Plaintiff,                           ) STIPULATION TO DISMISS WITH
                                          ) PREJUDICE
12
            vs.                           )
13                                        )
14
     ARROW FINANCIAL SERVICES, )
     L.L.C. AND LEGAL RECOVERY )
15   LAW OFFICES, INC.,                   )
16                                        )
     Defendant.                           )
17
            NOW COME the parties by and through their attorneys to respectfully move
18
     this Honorable Court to dismiss the entire case with prejudice pursuant to Federal
19

20   Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
21
     fees. A proposed order has been concurrently submitted to this Court via email.
22

23
                        Respectfully submitted this 3rd day of September, 2014
24                                       By: s/Todd M. Friedman
25                                           Law Offices of Todd M. Friedman, P.C.
                                             Attorney for Plaintiff
26

27                                       By: s/ Hunter H. Hoestenbach
28
                                             Hoestenbach Law
                                             Attorney for Defendant


                                       Stipulation to Dismiss- 1
             Case 1:13-cv-03591-NJV Document 44 Filed 09/03/14 Page 2 of 2




1
     Filed electronically on this 3rd day of September, 2014, with:
2

3    United States District Court CM/ECF system
4
     Notification sent electronically via the Court’s ECF system to:
5

6
     Hunter H. Hoestenbach
     HOESTENBACH LAW
7    501 W. Broadway, Ste A230
8    San Diego CA 92101
9
     This 3rd day of September, 2014.
10
     s/Todd M. Friedman
11
     Todd M. Friedman
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                                      Stipulation to Dismiss- 2
